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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                               BALTIMORE DIVISION

JASON ALFORD, DANIEL LOPER, WILLIS
MCGAHEE, MICHAEL MCKENZIE, JAMIZE
OLAWALE, ALEX PARSONS, ERIC SMITH,
CHARLES SIMS, JOEY THOMAS, and LANCE
ZENO, Individually and on Behalf of All Others
Similarly Situated,
                                                   No. 1:23-cv-00358-JRR
                          Plaintiffs,

              vs.

THE NFL PLAYER DISABILITY & SURVIVOR
BENEFIT PLAN; THE NFL PLAYER
DISABILITY & NEUROCOGNITIVE BENEFIT
PLAN; THE BERT BELL/PETE ROZELLE NFL
PLAYER RETIREMENT PLAN; THE
DISABILITY BOARD OF THE NFL PLAYER
DISABILITY & NEUROCOGNITIVE BENEFIT
PLAN; LARRY FERAZANI; JACOB FRANK;
BELINDA LERNER; SAM MCCULLUM;
ROBERT SMITH; HOBY BRENNER; and
ROGER GOODELL,

                          Defendants.


                       MEMORANDUM OF LAW IN SUPPORT OF
                    PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
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I.         INTRODUCTION

           Pursuant to Federal Rule of Civil Procedure 37(a) and Local Rule 104.8, Plaintiffs move

the Court to compel Defendants to produce all documents responsive to Requests Nos. 2 and 3 of

Plaintiffs’ First Set of Requests to Defendants for Production of Documents (“Requests 2 & 3” or

“Requests”). The Parties met and conferred on several occasions but were unable to resolve their

differences over Defendants’ response to the Requests. For the reasons discussed below, the Court

should compel Defendants to produce all documents responsive to Requests 2 & 3 because the

documents in question are undeniably pertinent to the resolution of Plaintiffs’ claims. 1

II.        THE DISCOVERY REQUESTS IN DISPUTE

           Set forth below are Requests 2 & 3 and Defendants’ responses thereto.

1.         Plaintiffs’ Request No 2

           Plaintiffs’ Request: All notices of LOD, T & P, and NC benefit determination
           decision letters communicated to all Claimants during the Relevant Time Period.

           Defendants’ Response: Defendants incorporate by reference each of the above-
           stated General Objections and Specific Objections to the Definitions and
           Instructions as if fully set forth herein.

           Defendants further object that this Request is vague and ambiguous as to Plaintiffs’
           intended meaning of the phrase “benefit determination letters”; Defendants will
           interpret this phrase to mean final claims decision letters from the Board.

           Defendants further object that this Request is overly broad and unduly burdensome
           at this stage in the litigation, where the Court has not certified a class, yet the
           Request calls for the production of “all” decision letters communicated to “all”
           “Player[s] who applied for one or more of any of the disability benefits under the
           Plan” during the stated period, and is not limited to the Plaintiffs’ remaining claims,
           which are the exclusive claims at issue in this Action. All of the decision letters for
           the claims at issue in this Action have already been produced as part of the
           administrative record. Moreover, to the extent Plaintiffs are seeking certification of

      1
     Plaintiffs adopt the definitions and shorthand terms in the Amended Class Action Complaint
(ECF No. 56) (“Amended Complaint”). “Ex.” refers to exhibits to the accompanying Declaration
of Benjamin R. Barnett, dated Nov. 26, 2024 (“Barnett Decl.”), while “¶”and “¶¶” refer to
paragraphs of the Amended Complaint. Except where otherwise indicated, internal citations,
internal quotation marks, and footnotes are omitted from all quotations and emphasis is added.
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 one or more classes that would consist of a broader number of Claimants, Plaintiffs
 have brought their class allegations asserting that Plaintiffs’ claims are
 representative and typical of the claims of other putative class members, rendering
 a demand for records pertaining to “all Claimants” overbroad, unduly burdensome,
 and grossly disproportionate to the needs of the case. This Request is also
 overbroad, unduly burdensome, and not proportional to the needs of the case to the
 extent the period identified is not limited to the period between August 9, 2019, and
 February 9, 2023, which is the period consistent with the Plan’s 42-month
 limitations period preceding the filing of Plaintiffs’ complaint. Plaintiffs’ claims
 relying on applications with final decision letters dated prior to August 9, 2019,
 were dismissed by the Court’s Order Granting Reconsideration. Defendants further
 object that the burden of identifying, locating, collecting, and producing irrelevant
 letters for players who are not parties to this Action would be extensive and would
 infringe on the privacy of those players; this Request is therefore disproportional to
 the needs of the case in that respect as well. Defendants further object that all
 “benefit determination letters” for Plaintiffs were necessarily communications with
 Plaintiffs, and are therefore already within Plaintiffs’ possession, custody, or
 control.

 Subject to and without waiving the foregoing objections, Defendants respond as
 follows: Defendants have already produced the administrative record for each of
 Plaintiffs’ at-issue claims. To the extent any of Plaintiffs’ benefit determination
 letters have inadvertently not been produced, Defendants will produce them.
 Plaintiffs’ request for “[a]ll notices of LOD, T & P, and NC benefit determination
 decision letters communicated to all Claimants during the Relevant Time Period”
 seeks discovery relating to thousands of Claimants other than Plaintiffs that is
 outside Plaintiffs’ administrative records and not necessary to assess Plaintiffs’
 claims. See Wilkinson v. Sun Life & Health Ins. Co., 674 F. App’x 294, 352, 356
 (4th Cir. 2017) (“[w]hen a court reviews a coverage determination … consideration
 of evidence outside of the administrative record is inappropriate”) (quoting Helton
 v. AT & T Inc., 709 F.3d 343, 351 (4th Cir. 2013)); Briggs v. Marriott Int’l, Inc.,
 368 F. Supp. 2d 461, 467 n. 4 (D. Md. 2005) (“due to the deferential standard of
 review in ERISA cases… this Court’s review of the administrator’s decision should
 be based on the record before the administrator”). Plaintiffs have not made any
 showing that could justify discovery outside the administrative records of the
 named Plaintiffs’ claims. See Griffin v. Hartford Life & Accident Ins. Co., 2016
 WL 8794470, at *2 (W.D. Va. Sept. 27, 2016) (holding that where a plaintiff makes
 a “bare assertion” that “discovery may reveal internal incentives ... to deny claims,”
 without any facts to support bias or gaps in the record, that request should be
 denied). The requested discovery therefore exceeds the scope of permissible
 discovery. Defendants are willing to meet and confer in good faith to understand
 Plaintiffs’ position as to why this discovery is appropriate here based on the current
 posture of the litigation.




                                           2
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2.       Plaintiffs’ Request No 3

         Plaintiffs’ Request: For each Neutral Physician or MAP identified in your
         response to Your [sic] Interrogatory No. 1, 2 all of the following Documents
         Concerning Claimants’ LOD, NC, and T & P benefit claims during the Relevant
         Time Period: (1) all PRFs worked on, drafted, completed, or signed by the Neutral
         Physician or MAP and provided to Defendants, (including any drafts, handwritten
         notes, comments, correspondence with Defendants, Joint Physician Report form,
         or other attachments to the PRF); and (2) all physician narratives (Neutral Physician
         or MAP reports) worked on, drafted, completed, or signed by the Neutral Physician
         or MAP and provided to Defendants (including any MoCA test sheets, drafts,
         handwritten     notes,     comments,      correspondences       with     Defendants,
         neuropsychological testing data, or other attachments to the narratives).

         Defendants’ Response: Defendants incorporate by reference each of the above-
         stated General Objections and Specific Objections to the Definitions and
         Instructions as if fully set forth herein. Defendants further object that this Request
         is overly broad and unduly burdensome at this stage in the litigation, where the
         Court has not certified a class, yet the Request calls for the production of “all” PRFs
         “worked on, drafted, completed, or signed” including “any drafts, handwritten
         notes, comments, correspondence with Defendants, Joint Physician Report form,
         or other attachments to the PRF” and “all” “physician narratives ... worked on,
         drafted, completed, or signed by the Neutral Physician or MAP” including “any
         MoCA test sheets, drafts, handwritten notes, comments, correspondences with
         Defendants, neuropsychological testing data, or other attachments to the narratives”
         during the stated period, and is not limited to the Plaintiffs’ remaining claims, which
         are the exclusive claims at issue in this Action, or involve neutral physicians or
         MAPs who examined Plaintiffs. All of the PRFs and Joint PRFs—many of which
         contain the physician’s handwritten notes—for Plaintiffs regarding their at-issue
         claims in this Action have already been produced as part of the administrative
         record. Moreover, to the extent Plaintiffs are seeking certification of one or more
         classes that would consist of a broader number of Claimants, Plaintiffs have brought
         their class allegations asserting that Plaintiffs’ claims are representative and typical
         of the claims of other putative class members, rendering a demand for records
         pertaining to “Claimants” overbroad, unduly burdensome, and grossly
         disproportionate to the needs of the case. This Request is also overbroad, unduly
         burdensome, and not proportional to the needs of the case to the extent the period
         identified is not limited to the period between August 9, 2019, and February 9,
         2023, which is the period consistent with the Plan’s 42-month limitations period
         preceding the filing of Plaintiffs’ complaint. Plaintiffs’ claims relying on
         applications with final decision letters dated prior to August 9, 2019, were
     2
     Interrogatory No. 1 of Plaintiffs’ First Set of Interrogatories to Defendants directed
Defendants to “[i]dentify the total compensation and annual compensation paid to each Neutral
Physician or MAP (including all entities, clinics, companies, organizations, or institutes with
whom the Neutral Physicians or MAPs are associated) who performed file reviews or evaluated
Claimants for Benefit Claims during the Relevant Time Period.”
                                                    3
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         dismissed by the Court’s Order Granting Reconsideration. The burden of
         identifying, locating, collecting, and producing irrelevant materials for players,
         Neutral Physicians, and MAPs who are not themselves Plaintiffs and did not
         evaluate Plaintiffs would be extensive and would infringe on the privacy of those
         players; this Request is therefore disproportional to the needs of the case in that
         respect as well.

         Subject to and without waiving the foregoing objections, Defendants respond as
         follows: Defendants have already produced the administrative record for each of
         Plaintiffs’ at-issue claims. To the extent any of Plaintiffs’ PRFs or Joint PRFs have
         inadvertently not been produced, Defendants will produce them. Plaintiffs’ Request
         for “all PRFs worked on, drafted, completed, or signed by the Neutral Physician or
         MAP and provided to Defendants” and “all physician narratives (Neutral Physician
         or MAP reports) worked on, drafted, completed, or signed by the Neutral Physician
         or MAP and provided to Defendants” “[c]oncerning Claimants’ LOD, NC, and T
         & P benefit claims during the Relevant Time Period” for “each Neutral Physician
         or MAP identified in your response to Your Interrogatory No. 1,” seeks discovery
         relating to thousands of Claimants other than Plaintiffs that is outside Plaintiffs’
         administrative records and not necessary to assess Plaintiffs’ claims. See Wilkinson
         v. Sun Life & Health Ins. Co., 674 F. App’x 294, 352, 356 (4th Cir. 2017) (“[w]hen
         a court reviews a coverage determination … consideration of evidence outside of
         the administrative record is inappropriate”) (quoting Helton v. AT & T Inc., 709
         F.3d 343, 351 (4th Cir. 2013)); Briggs v. Marriott Intern., Inc., 368 F. Supp. 2d
         461, 467 n. 4 (D. Md. 2005) (“due to the deferential standard of review in ERISA
         cases… this Court’s review of the administrator’s decision should be based on the
         record before the administrator”). Plaintiffs have not made any showing that could
         justify discovery outside the administrative records of the named Plaintiffs’ claims.
         See Griffin v. Hartford Life & Accident Ins. Co., 2016 WL 8794470, at *2 (W.D.
         Va. Sept. 27, 2016) (holding that where a plaintiff makes a “bare assertion” that
         “discovery may reveal internal incentives ... to deny claims,” without any facts to
         support bias or gaps in the record, that request should be denied). The requested
         discovery therefore exceeds the scope of permissible discovery. Defendants are
         willing to meet and confer in good faith to understand Plaintiffs’ position as to why
         this discovery is appropriate here based on the current posture of the litigation.

III.     ARGUMENT

         THE COURT SHOULD COMPEL DEFENDANTS TO PRODUCE ALL OF
           THE DOCUMENTS THAT PLAINTIFFS SEEK IN REQUESTS 2 & 3

         In this Circuit and District, discovery is often permitted outside the administrative record

(“AR”) in ERISA breach of fiduciary duty and wrongful denial of benefits claims, and courts have

allowed discovery as to other claimants even where no class has been certified—which puts paid

to Defendants’ principal objection that they need not produce documents that touch on other

                                                  4
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claimants’ applications because no class has yet been certified in this case. 3 Notably, the district

court in the Cloud action—which involved an individual benefits claim—mandated that the Plan

provide decision letters relating to other claimants. See Cloud v. Bert Bell/Pete Rozelle NFL Player

Ret. Plan [“Cloud”], No. 3:20-CV-1277-S, 2021 WL 4477720, at *6 (N.D. Tex. Sept. 30, 2021).

       For the reasons discussed below, Defendants should be compelled to produce the requested

documents outside Plaintiffs’ ARs, including decision letters and physician reports relating to other

disability benefits claimants, because that information is directly relevant to Plaintiffs’ allegations

concerning Defendants’ wrongful denial of benefits, their pattern and practice of ERISA

violations, and their breaches of fiduciary duties to the Plan.

       A.      Requests 2 & 3 Are Reasonably Calculated to Lead to Admissible Evidence
               Pertinent to Plaintiffs’ Breaches of Fiduciary Duties Claim

       Taking the latter clam first, the Court should compel Defendants to produce the documents

sought in Requests 2 & 3 because broad discovery outside the ARs is permitted for materials

relevant to Defendants’ breaches of fiduciary duties of loyalty and care on behalf of the Plan itself.

       In 2019, another judge of this Court reasoned that the Court can “allow[] discovery beyond

the AR in breach of fiduciary duty claims … if any of the materials sought ... are relevant and



   3
     E.g., Balkin v. Unum Life Ins. Co., No. GLS 21-1623, 2022 WL 1136887, at *1 (D. Md. Apr.
18, 2022) (granting discovery outside AR, including on plan physician denial rates involving other
claimants, compensation, and expertise); Chughtai v. Metro. Life Ins. Co., No. PWG-19-CV-848,
2019 WL 4199036, at *3 (D. Md. Sept. 5, 2019) (“approv[ing] Plaintiff’s request for extra-record
discovery” as to physicians’ recommendations for other claimants); Kane v. UPS Pension Plan
Bd. of Trs., No. RDB-11-03719, 2012 WL 5869307, at *5 (D. Md. Nov. 19, 2012) (granting extra-
record discovery requests relevant to defendants’ history of biased claims administration,
including evidence relevant to claim process, referral process, and prior dealings); see also Helton
v. AT & T Inc., 709 F.3d 343, 354 (4th Cir. 2013) (“[W]ithout discovery, a claimant may not have
access to the information necessary to establish the seriousness of the conflict [of interest].”);
Chavis v. Plumbers & Steamfitters Loc. 486 Pension Plan, No. 1:17-CV-02729-ELH, 2019 WL
4879015, at *9 (D. Md. Oct. 3, 2019) (extrinsic evidence on other claimants “relevant both to
Plaintiffs’ benefits denial and to Plaintiffs’ § 502(a)(2) claims on behalf of the Plan (asserting that
the Trustees should be removed because of misrepresentations made to those Plan participants)”).
                                                  5
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proportional to the ... breach of fiduciary duty claim.” Chavis, 2019 WL 4879015, at *8 (allowing

plaintiffs “information for other similarly situated plan participants” could allow them to determine

whether defendants also engaged in misrepresentations to others). Here, Plaintiffs’ requests for

limited subsets of decision letters communicated to other claimants and physician reports

pertaining to other claimants’ benefits applications during a similar timeframe are relevant and

proportional to whether Defendants breached fiduciary duties of loyalty and care to the Plan itself

through objectively unreasonable conduct “considered in the aggregate,” including false

representations provided to applicants in decision letters and systematic reliance and waste of Plan

assets on biased Plan physicians having a track record of generating result-oriented reports, as part

of Defendants’ fraudulent scheme. 4




   4
      See ECF No. 78 at 36-37 (Court’s motion to dismiss ruling, stating that Plaintiffs’ allegations
were “more than ample to satisfy [the Rule 9(b)] standard, including dates that the Board issued
its denial letters to Plaintiffs, the contents of alleged false representations, and the like”); ¶¶ 160,
170, 173, 184, 186, 189, 201, 214, 222, 237, 252, 263, 266; Chao v. Malkani, 452 F.3d 290, 294
(4th Cir. 2006) (“While one of their several dubious actions standing alone may have made the
extraordinary remedy of removal a closer call, when their behavior is considered in the aggregate,
it becomes evident that defendants abdicated their fiduciary obligations.”). As Chavis made clear:

       [T]he Fourth Circuit instructs that removal of trustees is proper under § 502(a)(2) when the
       plan fiduciaries “continu[ously] act[ ] in an objectively unreasonable manner that
       conflict[s] with their duties of loyalty and care.” Chao v. Malkani, 452 F.3d 290, 298 (4th
       Cir. 2006); see also Faircloth v. Lundy Packing Co., 91 F.3d 648, 659 n.6 (4th Cir. 1996)
       (“Removal of trustees is appropriate when the trustees have engaged in repeated or
       substantial violations of their fiduciary duties....”).Thus, allowing Plaintiffs … information
       for other similarly situated plan participants could allow them to determine whether
       Defendants also misrepresented… to others. For example, other beneficiaries could share
       whether any Plan fiduciaries communicated with them regarding whether [the defendants
       made misrepresentations to them].

Chavis, 2019 WL 4879015, at *8. see also Helton, 709 F.3d at 361 n.6 (“Unlike with actions
brought under [29 U.S.C.] Section 1132(a)(1)(B), when adjudicating a claim for violation of an
ERISA statutory provision, a district court is not barred from considering evidence unknown to
the administrator[.]”).
                                                   6
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       The requested decision letters and physician reports during a similar timeframe “for other

similarly situated plan participants could allow [Plaintiffs] to determine whether Defendants”

knowingly wasted Plan assets on flawed Plan physician reports, and “fraudulently misrepresent …

biased physicians as ‘absolutely neutral in this process’” to other claimants warranting removal,

restitution and injunctive and other relief. ¶ 333. 5 Also, the requested documents could reasonably

lead to admissible evidence regarding the plan-wide extent to which “Board members themselves

do not review the entire administrative record as required by statute and in stark contrast to what

Players are lulled into believing from information … in … decision letters.” ¶ 344. Similar to

Chavis, compelling Defendants to produce documents for other claimants would allow Plaintiffs

to determine whether Defendants systematically made misrepresentations in decision letters to

other claimants sufficient to warrant the remedies available under ERISA § 409, 29 U.S.C. § 1109.

       Importantly, decision letters and physician reports are critical underlying documentation

from which the statistical samples of physician denial-rate breakdowns cited in the Amended

Complaint (¶¶ 117-46) are derived. The documents requested in Requests 2 & 3 are relevant and

proportional to whether “the Board’s repeated refusal to pay contractually authorized benefits has

been willful and part of a larger systematic breach of its fiduciary obligations on a plan-wide basis”

and that “[t]he magnitude of these plan-wide perverse incentives, particularly when correlated with

their irreconcilable conclusions [in physician reports and decision letters]; solicitation of and

reliance upon flawed [physician] reports; and retention and lavish remuneration of physicians



   5
      See ¶ 53 (“In various ERISA-mandated notices to Players, Defendants affirmatively tout to
Players and their beneficiaries that the ‘Neutral Physicians’ are indeed ‘absolutely neutral,’ and
that the examinations they perform are ‘neutral exams.’”); see also ¶ 336 (“The Board has
deliberately perpetuated and designed a sham claims process through plan-wide methodical
implementation and plan-wide misinformation that has injured the integrity of the process. For
example, the Board touts to Players through repeated misrepresentations that these biased
physicians are ‘absolutely neutral in the process.’”) (emphasis added in Amended Complaint).
                                                  7
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having a track record of minimizing genuine medical conditions [in their physician reports] shows

that there is a plan-wide conflict that does, in fact, repeatedly and on an ongoing basis, significantly

harm and negatively influence the plan-wide implementation and integrity of the claims

administration process, in violation of ERISA.” ¶ 333.

       Other claimants’ decision letters (and physicians’ reports) could reasonably lead to

information identifying the breakdown of particular Plan-compensated physicians’ recommended

conclusions on whether a claimant met the LOD, T & P, and NC benefits standards during the

same timeframe as Plaintiffs’ applications. Moreover, the requested discovery could reasonably

lead to probative evidence on which particular Plan-hired physicians’ “views” were commissioned

by the Board to support desired outcomes as part of Defendants’ “repeated refusal to pay

contractually authorized benefits [that] has been willful and part of a larger systematic breach of

its fiduciary obligations on a plan-wide basis.” Id.

       Also, the decision letters and physician reports requested could reasonably lead to

probative evidence regarding “the Board's bizarre interpretations, continuous disregard for legal

precedent, and multiple erroneous interpretations of the same or similar provisions, evinc[ing]

violations of both the Plan and ERISA that support the overall conclusion that the Board has not

acted prudently … and has failed to act solely in the interest of Plan participants.” ¶ 342. For

example, “although federal courts have repeatedly held that the Board acts unreasonably when

failing to consider the collective impact of all elements and impairments asserted by Players,”

decision letters and physician reports for other claimants could reveal the extent to which

Defendants “continue[], on a plan-wide basis, to blatantly disregard those holdings.” Id.

       Notably, Plaintiffs’ limited requests are narrowly tailored by multiple qualifiers. First,

Request No. 2 requires Defendants to produce decision letters and physician reports for the



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timeframe encompassed by Plaintiffs’ own applications. Plaintiffs requested decision letters and

physicians reports only from April 1, 2018 onwards—the start of the Plan Year in which Plaintiff

McKenzie filed an application for T & P benefits that eventually resulted in a final decision letter

after August 9, 2019. See ¶¶ 176, 184. Courts have permitted discovery in ERISA cases on

physician denial-rate breakdowns over much broader periods than requested by Plaintiffs. 6

Although Defendants assert that matters before August 9, 2019 are outside the relevant time period

because “Plaintiffs’ claims relying on applications with final decision letters dated prior to August

9, 2019, were dismissed,” they ignore that, unlike their ERISA § 502(a)(1)(B) wrongful denial of

benefits claim, Plaintiffs’ ERISA § 502(a)(2) breach of fiduciary duties claim is not governed by

the Plan’s 42-month limitations period but, rather, by the longer breach of fiduciary duties

limitations period in ERISA § 413, 29 U.S.C. § 1113. 7

       Second, Requests 2 & 3 are narrowly tailored in that they do not seek Defendants’

production of decision letters or physician reports for claimants who applied for benefits other than

LOD, T & P, and NC benefits (such as 88 Plan benefits, which no plaintiff applied for). Nor did

Plaintiffs request production of every communication or notice sent to claimants, such as

application confirmation letters, appointment scheduling letters, appointment rescheduling letters,

tolling letters, opportunity to respond letters, or incomplete application notices.


   6
      E.g., Kasko v. Aetna Life Ins. Co., 33 F. Supp. 3d 782, 789 (E.D. Ky. 2014) (granting
discovery outside ARs on “financial incentives, combined with the physicians’ recommendations”
for three-year period, while noting that “similar discovery has been found to be sufficiently narrow
when it is limited to … [a] ten-year period”); Chughtai, 2019 WL 4199036, at *1 (granting
discovery outside AR “between 2011-2016” on “breakdown of … doctors’ recommendations
during that period (how many recommended denials and how many recommended payments); and
… breakdown of [defendant’s] decisions in response to those recommendations”).
   7
     Setting aside that a longer limitations period governs, the Court’s statute of limitations ruling
concerned only Plaintiffs’ 502(a)(1)(B) wrongful denial of benefits claim. The Court did not hold
that Plaintiffs’ 502(a)(2) claim for breaches of fiduciary duties on behalf of the Plan itself based
on underlying ERISA violations was time-barred. See ECF No. 78 at 13 n.8.
                                                  9
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          Significantly, information contained in other claimants’ decision letters and physician

reports is relevant and proportional to various aspects of the specifically pled fraudulent scheme

and fraudulent misrepresentations. E.g., ¶ 344 (“Board members themselves do not review the

entire administrative record as required by statute and in stark contrast to what Players are lulled

into believing from information about the Plan in … decision letters.”). 8 Moreover, Requests 2 &

3 could reasonably lead to evidence of the contents of decision letters that include

misrepresentations about what records were reviewed, flaws and inconsistencies in the physician

reports that Defendants relied upon, and inconsistencies between what is actually in those reports

and what Defendants communicate to other claimants in decision letters. 9

          Indeed, factors relevant to proving whether a fraud has been committed include whether

misrepresentations were made and “whether there is information asymmetry in the defendant’s

favor.” Suchin v. Fresenius Med. Care Holdings, Inc., 715 F. Supp. 3d 703, 719 (D. Md. 2024).

Here, only Defendants have access to the complete universe of accurate probative information

necessary to run a complete regression analysis and shed light on Defendants’ scheme by

correlating the more than 118 physicians’ high or low compensation with the resulting Defendant-

commissioned physicians’ reports demonstrating patterns of recommending denial of meritorious

claims.     See Chavis, 2019 WL 4879015, at *9 (defendants presumably had sought-after


    8
      See Watson v. UnumProvident Corp., 185 F. Supp. 2d 579, 585 (D. Md. 2002) (defendant’s
false assertion that specific review of records had been undertaken “bordered on outright fraud”);
compare, e.g., Ex. A (NFL_ALFORD-0000919) (“At its February 23, 2023 meeting, the Disability
Board reviewed all of the evidence in your Plan file”) with Cloud, 2022 WL 2237451, at *12 (N.D.
Tex. June 21, 2022) (“Board members do not review all of the documents in the administrative
record.”) (emphasis in original), rev’d on other grounds, 95 F.4th 964 (5th Cir. 2024), cert. denied,
No. 24-61, 2024 WL 4427195 (U.S. Oct. 7, 2024).
    9
     See State Farm Mut. Auto. Ins. Co. v. Carefree Land Chiropractic, LLC, No. 18-CV-1279,
2019 WL 4722675, at *4 (D. Md. Sept. 25, 2019) (fraudulent scheme pled with particularity where
plaintiff identified patients, physicians, dates of physician visits, and specific instances “of internal
inconsistencies”).
                                                   10
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information “at their fingertips”).

       Additionally, Plaintiffs assert that Defendants breached their fiduciary duties through “a

systematic disparity between those highly compensated” Plan-selected physicians “and those with

an annual average compensation from Defendants” below certain amounts.              ¶ 340.    Other

claimants’ decision letters and physician reports could reasonably lead to evidence demonstrating

that Defendants systematically relied on the flawed, biased, and otherwise deficient physician

recommendations without proper investigation. Correlated with the lavish compensation paid to

those Plan-selected physicians, Requests 2 & 3 could reasonably lead to necessary evidence for

the remedial and equitable remedies that Plaintiffs seek, including but not limited to, restitution

for waste of Plan assets on biased physicians who have demonstrated inadequate work

performance, injunctive relief to remove those biased physicians from the claims process, and

“requiring Defendants to issue accurate … decision letters.” ¶¶ 375, 379.

       B.      Requests 2 & 3 Are Reasonably Calculated to Lead to Admissible Evidence
               Pertaining to Plaintiffs’ Wrongful Denial of Benefits Claim

       The Court should also compel Defendants to produce the requested decision letters and

physician reports for other claimants because that is evidence that was known or should have been

known to Defendants, and it would supplement the ARs for the Court to adequately assess the

reasonableness of Defendants’ decisions on Plaintiffs’ claims. The Fourth Circuit and this District

have held that the Supreme Court’s decision in Metro. Life Ins. Co. v. Glenn, 554 U.S. 105 (2008),

“opened the door” to discovery beyond the AR in wrongful denial of benefits claims. Balkin, 2022

WL 1136887, at *3; see supra at p. 5 n.3 (citing additional cases). “[A] district court may consider

evidence outside of the administrative record on abuse of discretion review in an ERISA case when




                                                11
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such evidence is necessary to adequately assess the Booth factors 10 and the evidence was known

to the plan administrator when it rendered its benefits determination.” Helton, 709 F.3d at 356.

                   1.   Defendants Can Be Charged with Knowledge of Their Own Decision
                        Letters and Plan-Commissioned Physician Reports

        To begin with, decision letters and physician reports relating to other claims are materials

that Defendants presumably had “at their fingertips,” Chavis, 2019 WL 4879015, at *9, and were

known to them at the time they rendered their decisions on Plaintiffs’ claims. See Helton, 709

F.3d at 356 (defendants have “knowledge of the contents of their records”). Therefore, Defendants

can be charged with knowledge of the documents sought through Requests 2 & 3, and judicial

review here should not be limited solely to what Defendants placed in the ARs. 11

                   2.   Requests 2 & 3 Will Help Fill in the Gaps in the ARs to Adequately
                        Assess the Fourth Circuit’s Wal-Mart v. Booth Factors

        Plaintiffs seeking extra-record discovery need to assert “particularized facts that render

extra-record discovery necessary,” Balkin, 2022 WL 1136887, at *3, to explore Booth factors, such

as any conflict of interest in adjudication of their particular claim, and “provide a basis for the

court to determine whether such discovery would fill gaps in the record.” Balkin, 2022 WL



   10
      Referring to Booth v. Wal-Mart Stores, Inc. Assocs. Health & Welfare Plan, 201 F.3d 335,
342-43 (4th Cir. 2000). Those factors are (1) the language of the plan; (2) the purposes and goals
of the plan; (3) the adequacy of the materials considered to make the decision and the degree to
which they support it; (4) whether the fiduciary’s interpretation was consistent with other
provisions in the plan and with earlier interpretations of the plan; (5) whether the decision-making
process was reasoned and principled; (6) whether the decision was consistent with the procedural
and substantive requirements of ERISA; (7) any external standard relevant to the exercise of
discretion; and (8) the fiduciary’s motives and any conflict of interest it may have. Id.
   11
      See Helton, 709 F.3d at 353 (had the Fourth Circuit “allowed plan administrators the
unchecked opportunity to pick and choose what evidence in their possession to include in the
administrative record … [courts] would have effectively surrendered [their] ability to review
ERISA benefits determinations because plan administrators could simply omit any evidence from
the administrative record that would suggest their decisions were unreasonable”).

                                                12
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1136887, at *3. 12 In this case, decision letters and reports for other claimants contain necessary

information to fill in the gaps in the ARs as to several of the Booth factors in Plaintiffs’ particular

claims.

                    3.   Booth Factor 4: Inconsistencies With Earlier Interpretations of the
                         Plan

          Plaintiffs’ ARs contain gaps that must be supplemented because the ARs are silent as to

whether the Committee’s and Board’s interpretations of Plan terms in Plaintiffs’ decision letters

and Plan physician reports are consistent with earlier interpretations of the Plan in other claimants’

decision letters and Plan physician reports, as is required to assess the fourth Booth factor. 13

          The Court “would have to look at extrinsic evidence concerning the plan administrator’s

prior … determinations,” Helton, 709 F.3d at 354, and physician reports to assess how Defendants

previously interpreted the numerous relevant Plan terms at issue for Plaintiffs. 14 Therefore,



   12
      See Chavis, 2019 WL 4879015, at *8 (even if materials fell outside AR, “at least two Booth
factors provide[d] the bridge to relevance for purposes of establishing the scope of discovery: (1)
whether the provisions at issue have been applied consistently; and (2) whether the fiduciary’s
interpretation was consistent with ... earlier interpretations of the plan”).
   13
      See Jani v. Bell, 209 F. App’x 305, 317 n.8 (4th Cir. 2006) (comparing defendants’
inconsistent interpretation of Plan in NFL player’s claim with evidence of “eight other cases of T
& P disability” produced following motion to compel); Cloud, 2022 WL 2805527, at *5 (court had
compelled Plan to produce relevant documents, including its prior decision letters for other
claimants, in order to assess whether Plan terms had been defined consistently).
   14
      See, e.g., ¶¶ 45-53, 71, 113, 154, 168 (Plan terms within the definition of “Neutral Physician”
including “adequate determination” and “maintain a network”); ¶¶ 60, 61, 71, 168, 179-82, 225,
283 (Plan’s T & P General Standard, including Plan terms “educational level and prior training of
a Player will not be considered in determining whether such Player is” T & P disabled); ¶¶ 73-74,
196, 210, 235, 285 (Plan terms for LOD Points); ¶¶ 77-79, 153, 155, 156, 159, 160, 197, 251-55,
258, 261, 264-65 (Plan terms prescribing NC benefits standard for mild and moderate impairments,
including that impairments “reflect acquired brain dysfunction”); ¶¶ 63-69, 191-93, 284, 293-94
(Plan terms for the Active and Inactive categories of T & P disability, as well as Special Rules in
Plan § 3.5); ¶¶ 64-69, 72-73 (Plan terms “Arising out of League football activities” including Plan
term “combination” and “disability(ies)”); ¶¶ 37, 40-42, 99, 214, 226, 238, 284, 298, 312-15 (Plan
terms concerning what documents and information Defendants must review).
                                                  13
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Defendants’ earlier interpretations in “previous claims [are] relevant to determining whether the

Board applied these terms inconsistently in reviewing Plaintiff’s claim[s].” Cloud, 2021 WL

4477720, at *6 (citing cases).

                      4.   Booth Factor 8: Faith Motives, Bias, and Any Conflicts of Interest

        The eighth Booth factor requires consideration of “the fiduciary’s motives and any conflict

of interest.” Booth, 201 F.3d at 342. The Supreme Court has explained that courts must consider

the fact-specific impact, “kind[] and … degree of seriousness” of a fiduciary’s bad faith motives

or any conflict of interest when evaluating whether an administrator abused its discretion. Glenn,

554 U.S. at 116. 15

        The requested benefit decision letters and Plan-commissioned physician reports for other

claimants are necessary to fill in the gaps in the ARs to adequately assess the impact of Defendants’

motives and various conflicts of interest, including a history of biased claims administration and

failures to take active steps to reduce bias and promote accuracy. Plaintiffs’ ARs do not contain

information necessary for the Court to properly consider the eighth Booth factor.

                           a.    Discovery as to Other Claimants Is Necessary to Fill in the
                                 Gaps on the Impact of Defendants’ History of Bad Faith
                                 Motives, Conflicts of Interest, and Failure to Take Active
                                 Steps to Reduce Bias and Promote Accuracy

        Discovery is necessary to explore the impact of the Defendants history of bad faith motives

and acting as an adversary rather than as a fiduciary. See Dimry, 487 F. Supp. 3d at 818. Critically,

the Supreme Court in Glenn articulated that evidence of “circumstances [that] suggest a higher



   15
      See Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 16-cv-01413-JD, 2018 WL
1258147, at *3-4 (N.D. Cal. Mar. 12, 2018) (Plan’s “sizable payments” of nearly $189,000 in a
single Plan year to Plan-selected physician Dr. Meier “raise[d] a fair inference of a financial
conflict,” “even in the absence of a structural conflict”; “problem [was] that the Board denied
benefits based upon an unreasonable bias in favor of Plan-selected physicians”), aff’d and
remanded, 855 F. App’x 332 (9th Cir. 2021).
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likelihood that [a conflict] affected the benefits decision, including, but not limited to, cases where

an … administrator has a history of biased claims administration” can be important, and even a

tie-breaking factor for a court to consider when determining whether a plan fiduciary abused its

discretion. Glenn, 554 U.S. at 117. “As a result [of Glenn], it became all the more important for

courts to have access to adequate evidence to assess, for example, how a conflict of interest may

have impacted the adequacy of the administrative record and, consequently, a contested benefits

determination.” Helton, 709 F.3d at 355. 16

        Evidence that a plan administrator’s conflict influenced or motivated its decision “may take

many forms.” Glenn, 554 U.S. at 123 (Roberts, C.J., concurring). It may be shown by evidence

of “improper incentives; or it may be shown by a pattern or practice of unreasonably denying

meritorious claims.” Id. For example, “statistics showing a parsimonious pattern of assessments

disfavorable to claimants” would be “more powerful evidence” of a fiduciary’s motives, conflict,

or bias. Demer v. IBM Corp. LTD Plan, 835 F.3d 893, 902-03 (9th Cir. 2016).

        Here, Plaintiffs are entitled to broad discovery outside the AR, including T & P, LOD, and

NC decision letters communicated to other claimants and Plan physician reports for other claims

from April 1, 2018 through February 9, 2023, because Plaintiffs have specifically alleged that

courts across the country, including in this District and elsewhere in the Fourth Circuit, have found

that Defendants have a history of culpable conduct, bad faith motives, and adversarial claims

administration, including their “long-history of concealing the impact” of “impairments from


   16
       “Glenn unambiguously requires district courts to determine the likelihood that an
administrator’s conflict of interest affected its benefits decision and suggests that this
determination can be made by reviewing evidence regarding the administrator’s past dealings and
claim review process.” Clark v. Unum Life Ins. Co. of Am., 799 F. Supp. 2d 527, 532 (D. Md.
2011). “To make this determination, a court may consider such extrinsic facts as an administrator’s
history of biased claims administration and any active steps it has taken to reduce bias or improve
accuracy.” Kane, 2012 WL 5869307, at *4 (compelling discovery of evidence outside AR,
including “administrator’s past dealings and claim review process”).
                                                  15
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football activities,” and “overly aggressive and disturbing pattern of erroneous and arbitrary

benefits denials.” ¶¶ 4, 21 (collecting cases), 340. The gaps in the ARs need to be filled in to

adequately assess the impact of Defendants’ historical “pattern or practice” of unreasonably

denying meritorious claims.

        Such informational gaps requiring supplementation include (i) which Plan-compensated

physicians were selected and compensated in the referral process by Defendants to evaluate other

claimants; (ii) each evaluating Plan-selected physician’s conclusions as to whether other claimants

met the LOD, T & P, or NC benefits standards, including any knowing use of or reliance on

inconsistencies with Plan terms by Plan physicians or other inadequacies in their reports 17; (iii)

Defendants’ pattern or practice in decision letters of defaulting to more lavishly compensated Plan

physicians than to lower-compensated physicians with lower recommended denial rates; (iv) the

dates of other claimants’ physician evaluations; (v) Plan physicians’ alleged relevant specialties

and expertise; (vi) whether Defendants disregarded evidence in favor of Plan-selected physicians’

opinions; (vii) whether Defendants’ commissioned physicians’ reports reflect Defendants’ “long-

history of concealing the impact of neurocognitive impairments from football activities” (¶ 340);

and (viii) whether Defendants have a history of knowingly relying exclusively on biased and

otherwise inadequate Plan physicians’ reports, demonstrating a “pattern or practice of

unreasonably denying meritorious claims.” Glenn, 554 U.S. at 123.




   17
       “Under Glenn, proof of facts warranting imputation of improper motives to a plan
administrator still aids claimants challenging adverse benefits decisions.” Spry v. Eaton Corp.
Long Term Disability Plan, 326 F. App’x 674, 678 (4th Cir. 2009). Therefore, “knowing use of
biased doctors would be some evidence of bad faith.” Adams v. Symetra Life Ins. Co., No. CV-
18-0378-TUC-JGZ (LAB), 2020 WL 1275721, at *2 (D. Ariz. Mar. 17, 2020) (“doctors’ other
reports” and their “notes, correspondence, and drafts” were “relevant and discoverable”), objs.
overruled in relevant part, 2020 WL 6469949 (Nov. 3, 2020).
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        In Chughtai, another judge of this District held that the plaintiff met her burden of

demonstrating that the AR did not provide sufficient evidence for the Court to address her assertion

that the defendant’s disability benefits denial was affected by bias. The Chughtai court noted her

allegations that the 758-page AR contained only about 34 pages of actual analysis; the denial of

her claim was supported by “poorly reasoned” physician reviews that failed to take account various

indications that she was unable to work; and that courts had repeatedly reversed denials of claims

involving one of the review physicians in her case, with the Sixth Circuit criticizing his opinion as

“factually and analytically problematic,” and another review physician having worked exclusively

for insurance companies in disability cases, having spent just one hour on her claim, and not

knowing if the records in her case were even complete. Chughtai, 2019 WL 4199036, at *2-3.

        Here, there are gaps in the ARs related to the “118 different Board-compensated physicians

[that] performed … T & P disability evaluation[s],” as part of Defendants’ physician referral

process, and that the majority “of those physicians … have a 100% overall T & P disability denial

rate” in the underlying information in the statistical sample (i.e., decision letters and Plan physician

reports). ¶ 146. There are informational gaps in the ARs because other claimants’ decision letters

and Plan physicians’ reports are clearly not contained within any of the ten plaintiffs’ ARs. Their

ARs contain gaps as to whether the Plan-selected physicians’ past opinions have overwhelmingly

concluded that other claimants who applied for the same benefits as Plaintiffs were not disabled. 18


   18
       As Plaintiffs allege, in the sample of many hundreds of decision letters and physician reports,
when comparing the 100% T & P denial rate of the seven highest-paid physicians with average
annual compensation of $200,000 or more, and comparing that rate of denial to the 25.93% overall
findings of T & P disability by Plan physicians with an average annual Board compensation of
$50,000 or less (¶¶ 117, 199), evidence of the fiduciaries’ motives demonstrate that this disparity
is not coincidental but, rather, willful, methodical, and systematic. See generally ¶¶ 117-46. What
is more, despite the high prevalence of neurocognitive impairments in retired NFL players and the
NFL’s long history of concealing the impact of such impairments from football activities, the 14
Defendant-compensated neuropsychologists having the highest annual average compensation,

                                                  17
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Given this alleged correlation, Plaintiffs should also receive extra-record discovery on the Plan’s

hired physicians’ compensation.

        Furthermore, Plaintiffs assert that the specified Plan-selected physicians whose

recommendations are sought from information contained in other claimants’ decision letters and

reports, have been criticized by a number of courts for rendering flawed, deficient, biased,

conclusory, and otherwise inadequate opinions. 19 Defendants object in conclusory fashion that

“Plaintiffs have not made any showing that could justify discovery outside the administrative

records of the named Plaintiffs’ claims” and have not put forward “any facts to support bias or

gaps in the record.” As shown above and through other allegations, 20 however, that is inaccurate.


including the Plan’s MAP, have never found that any claimant is T & P disabled in any year, across
the combined T & P Plan physician reports in the sample. ¶ 122. There is a systematic disparity
between the high rate of those highly compensated neuropsychologists recommending denials of
claims, and the lower rate of recommended denials from those with an annual average
compensation from Defendants of $50,000 or less. ¶ 123.
   19
      See Mickell v. Bell/Pete Rozelle NFL Players Ret. Plan, 832 F. App’x 586, 589 (11th Cir.
2020) (Dr. Barry McCasland reviewed only “certain” medical records before rendering his
opinion); Jefferson v. Sellers, 250 F. Supp. 3d 1340, 1364-70 (N.D. Ga. 2017) (harshly criticizing
Dr. Stephen Macciocchi’s opinions one month before he received a promotion from Defendants
to teach other Plan physicians), aff’d sub nom. Jefferson v. GDCP Warden, 941 F.3d 452 (11th
Cir. 2019); Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 19-cv-05360-JSC, 2022
WL 1786576, at *3 (N.D. Cal. June 1, 2022) (Plan MAP’s opinion was “not persuasive and [wa]s
instead illogical and implausible”); Colvin v. 88 Bd., Joint Bd. of Trs. for 88 Plan, No. SA-17-CV-
974-XR, 2018 WL 1756738, at *2 (W.D. Tex. Apr. 11, 2018) (Dr. Brahin “conducted only a short
meeting” with the plaintiff and his report contained “many factual errors”); Savage v. State, 166
A.3d 183, 202 (Md. 2017) (“[t]he presence of an ‘analytical gap’ between the information available
to him and Dr. Garmoe’s ultimate opinion undermine the validity of this evidence”; “we conclude
that Dr. Garmoe’s ultimate opinions … are conclusory”; “we are unable to conclude that Dr.
Garmoe adequately ‘connected the dots’”; “Dr. Garmoe does not adequately reveal … how his
ultimate conclusions are derived from the evidence he sets forth at the hearing and in his report.
No adequate details, for example, are presented”).
   20
      E.g., ¶¶ 127-28 (allegations concerning over $1.6 million earned by to Plan’s highest-paid
neuropsychologist, Dr. Stephen Macciocchi; his reputation for minimizing concussion symptoms;
and his use of improper race norms in evaluating African-Americans’ ailments, as demonstrated
by his publications, previous court statements, and marketing materials, including participation in

                                                18
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        Nor is there any merit to Defendants’ objection that the Requests reach outside the August

9, 2019-February 9, 2023 period. Discovery may be permitted for “events that occurred before an

applicable limitations period” if requests focus on relevant issues. Oppenheimer Fund, Inc. v.

Sanders, 437 U.S. 340, 352 (1978). Given Plaintiffs’ allegations of a long history of biased claims

administration, discovery may properly “encompass a longer time period to allow for the necessary

context-specific analysis,” Mator v. Wesco Distrib., Inc., 102 F.4th 172, 188 (3d Cir. 2024), of that

history’s impact on their benefits claims, as required by Booth factor eight and Glenn. Thus, while

the Requests could justifiably reach back even further in time, a request for decision letters and

physician reports only as far back as April 1, 2018 is narrowly tailored and eminently reasonable.

        Besides, in opposing Plaintiffs’ class certification motion and to support of two of their

summary judgment motions—see ECF No. 111 at 10, 14-15, 27 (class certification opp. mem.).;

ECF Nos. 115-2 (at 9, 31), 123-1 (at 8, 33) (memoranda in supp. of Loper and Olawale summ. j.

mots.)— Defendants rely on the declaration of a putative expert, to whom Defendants provided

physician data from their V3 database for the period January 1, 2018-July 31, 2024. ECF No. 111-

2 at 6, 49-63 (Decl. of David B. Lasater, Ph.D., ¶¶ 11-13 & App. 3). That is a period 21 months

broader than that covered by Requests 2 & 3. 21 Defendants thus have no legitimate grounds to


panel that would “inform on ways to defeat or mitigate these claims based on current science and
explore how best to convince a jury that a plaintiff’s brain is hard boiled and not scrambled”); ¶
166 (Dr. McCasland confirmed that, through January 2012, “a hundred percent” of his “witness
work was for defendants, insurance companies or defense lawyers”).
   21
       The existence of the V3 database—Defendants’ “system of record,” according to one of their
summary judgment motion declarants, Hessam Vincent (ECF Nos. 115-4 at 13 (¶ 42), 123-3 at
14 (¶ 43)), who manages the Plan’s relationship with its hired physicians—was not fully or fairly
disclosed to Plaintiffs during the parties’ Rule 26(f) and meet-and-confer discussions. Barnett
Decl. ¶ 10. The “anonymized physician data” from this database that Defendants’ putative
statistical expert relies upon were produced to Plaintiffs about one minute before Defendants filed
their class certification opposition papers at approximately 11:28 p.m. on November 18, 2024. Id.
Notably, Defendants both failed to meet and confer with Plaintiffs before producing data from the

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object to producing documents covering a much narrower period. Nor can they legitimately object

to producing reports from physicians other than those involved in Plaintiffs’ claims, when they

themselves have now put at issue all Plan-hired physicians’ opinions over a 78-month period.

                   5.   Booth Factor 6: Discovery Is Necessary to Explore Defendants’
                        Pattern and Practice of ERISA Violations

        Other claimants’ decision letters and Plan-commissioned physician reports are necessary

to fill in the gaps in the ARs for the Court to adequately assess Defendants’ pattern and practice

of ERISA violations, as required by Booth factor six. Courts frequently grant discovery outside

the AR to adequately assess non-compliance with ERISA’s requirements. Crucially, for the Court

to adequately assess Booth factor six, it must determine whether the Defendants have a “pattern or

practice” of ERISA violations, resulting in mandated exhaustion of administrative remedies and

de novo review, pursuant to ERISA regulations. See 29 C.F.R. § 2560.503-1(l)(2)(ii).

                        a.    Discovery Is Necessary to Adequately Assess Defendants’
                              Failure to Ensure Consistent Treatment of Similarly Situated
                              Claimants

        Decision letters and physician reports concerning other claimants may shed light on the

Board’s compliance with procedural requirements in rendering its benefits determination. Cloud

2021 WL 4477720, at *4. ERISA’s implementing regulations mandate that certain documents and

information are per se relevant. 22   In Cloud, the court compelled discovery from the Plan of


V3 database, as mandated by the negotiated ESI Protocol, and to produce the data in a reasonably
usable format. Id.; see ECF No. 110 at 8, 10 (§§ 11.a, 11.g).
   22
       For example, “[a] document, record, or other information shall be considered ‘relevant’ to a
claimant’s claim if such document, record, or other information … [d]emonstrates compliance
with the administrative processes and safeguards required pursuant to paragraph (b)(5) of this
section in making the benefit determination.” 29 C.F.R. § 2560.503-1(m)(8)(iii). Moreover,
claims procedures must “contain administrative processes and safeguards designed to ensure and
to verify that benefit claim determinations are made in accordance with governing plan documents
and … plan provisions have been applied consistently with respect to similarly situated claimants.”
Id. § 2560.503-1(b)(5).
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thousands of pages of other claimants’ decision letters relevant to whether the Plan had complied

with ERISA’s requirements, including inconsistent treatment of similarly situated claimants. The

court reasoned that such discovery was appropriate in light of the plaintiff’s claim that he had been

treated inconsistently, the parties’ resources were highly asymmetric, and the potential burden and

expense posed by ordering production did not outweigh the benefit of the information that might

be obtained. Cloud, 2021 WL 4477720, at *7 (“Information on the bases for granting previous …

Benefits may be relevant to Plaintiff's claim, as it bears on whether Plaintiff was treated

inconsistently with others similarly situated who were granted these benefits.”).

        Decision letters and physicians’ reports can reasonably lead to evidence that Defendants

failed to put into place administrative processes and safeguards to ensure that Plan provisions have

been applied consistently to similarly situated applicants. Here, there are numerous gaps in

Plaintiffs’ ARs as to whether Defendants’ inconsistent treatment of claimants is part of a pattern

or practice of ERISA violations. 23


   23
       For example, Plaintiff Olawale demonstrated radiographic evidence of L5 pars defect/stress
fractures with spondylolysis. ¶ 196. Despite evidence from outside the AR of the Board’s current
MAP having previously awarded a claimant three LOD points for “Lumbar Stress Fracture with
Spondylolysis” for an “L5-S1 pars defect,” Defendants failed to award Mr. Olawale these points.
¶ 196 & n.17. Furthermore, Dr. McCasland opined that Plaintiff McKenzie was not T & P disabled
and expressed his preordained view, remarking that “[t]he likelihood of any headache disorder
constituting a total disability … is practically zero.” ¶ 181. That opinion was inconsistent with
prior interpretations of even the Board’s own MAP, who has previously determined other Players
to be T & P disabled due to headache disorders. Id. Additionally, Plaintiffs allege that similarly
situated claimants have been treated inconsistently based on racial norms and that Defendants have
directed their physicians’ application of discriminatory racial norms to test results for Plaintiffs
McKenzie, McGahee, Olawale, and Sims. ¶¶ 127, 167, 169, 182; Ex. B (NFL_ALFORD-0009965
(“scores were corrected for … ethnicity”). A court criticizing the opinions of Dr. Stephen
Macciocchi—Defendants’ highest-compensated neuropsychologist, who has promoted strategies
for defeating psychological injury and traumatic brain injury claims and who served as a consultant
for the NFL in the NFL Players’ Concussion Injury Litigation (¶¶ 128, 130-35, 327)—discussed
how the authors of the demographic “Heaton” norms that Dr. Macciocchi employed in that case
had previously stated that the use of such norms in cases “where there is a known history of brain
injury … is not appropriate.” Jefferson, 250 F. Supp. 3d at 1366. Therefore, discovery is necessary

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                       b.      Discovery Is Necessary to Supplement the ARs
                               Respecting Defendants’ Pattern or Practice of
                               Communicating Inadequate Decision Letters
                               That Do Not Comport with ERISA Requirements

        Decision letters for other claimants who applied for the same benefits as Plaintiffs are

relevant to whether Defendants have a “pattern or practice” of providing inadequate decision

letters in violation of ERISA § 503(1), 29 U.S.C. § 1133(1). 24 Here, the information contained in

other claimants’ decision letters is necessary for the Court to adequately assess whether Defendants

have a “pattern or practice of violations” of Section 503(1) in decision letters. This information is

absent from Plaintiffs’ ARs. Moreover, Plaintiffs’ allegations include that Defendants violated

Section 503(1) by providing inadequate notices to Plaintiffs that do not comply with ERISA,

including that Defendants failed to specify in decision letters their basis for why they disagreed

with medical findings and opinions that supported Plaintiffs’ entitlement to benefits and failed to

list the specific reasons for adverse determinations. ¶ 289.




to determine the degree to which Dr. Macciocchi, whom Defendants knowingly promoted in 2017
to “teach” other Plan physicians, has required or sanctioned the inappropriate application of racial
norms, resulting in inconsistent treatment of similarly situated claimants based on race. E.g., Ex.
C (NFL_ALFORD-0011462) (Plan physician instructions include “Enter the raw score/scale score
and the T score based on Heaton norms”). Request No. 3 is thus targeted at discovering the extent
of inconsistent treatment of similarly situated claimants, including the extent to which Dr.
Macciocchi infected the claims process for Plaintiffs through his use of racially discriminatory or
otherwise inappropriate norms.
   24
      Regulations implementing Section 503(1) stipulate that disability benefits decisions must (i)
provide “[t]he specific reason or reasons for the adverse determination”; “(ii) “[r]eference to the
specific plan provisions on which the determination is based”; (iii) include “[a] description of any
additional material or information necessary for the claimant to perfect the claim and an
explanation of why such material or information is necessary”; (iv) articulate discussions of
decisions, including explanations of the bases for disagreements with or not following medical
views favoring awards of benefits; and (v) include the “specific internal rules, guidelines,
protocols, standards or other similar criteria of the plan relied upon in making the adverse
determination.” 29 C.F.R. § 2560.503-1(g)(1)(i)-(iv), (vii).
                                                 22
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        For example, the Board issued a final decision on Plaintiff Sims’ claim in which it

incorrectly contended that his “file contain[ed] no evidence that [his] disability arose while an

Active Player.” ¶¶ 193, 293. Moreover, the Special Rules of Section 3.5 of the Plan were not

cited or referenced in the Board’s decision letter, and omitted from the decision letter was that,

contrary to Plan terms, the Board has adopted an unreasonable, clandestine interpretation of the

Plan that Active Football T & P benefits are intended only for situations where a claimant suffers

a catastrophic injury, such as a paralyzing collision, during a game—as Board members

acknowledged this crabbed interpretation in the Cloud action.         ¶¶ 193, 294.     In Plaintiff

McKenzie’s case, Defendants’ own physician, Dr. Clark, expressed his view in his physician report

that if he were permitted to consider neurological impairments and psychiatric impairments

together, Mr. McKenzie appeared to be “totally” disabled. ¶ 185. The decision letter issued to

Mr. McKenzie, however, did not even acknowledge this medical view favorable to his claim, let

alone explain the Board’s disagreement with it. ¶ 295. Thus, the requested decision letters, along

with the physician reports for other claimants, are necessary Court to adequately assess whether

Defendants have a pattern or practice of ERISA noncompliance in decision letters—which would

result in administrative remedies being deemed exhausted and de novo review mandated.

                      c.      Extra-Record Discovery Is Necessary to Assess Defendants’
                              Pattern or Practice of ERISA Violations Through Their
                              Failure to Review All Documents and Information

       Discovery of decision letters communicated to other claimants is further necessary for the

Court to adequately weigh, as a factor, the extent of Defendants’ pattern or practice of failing to

review “all comments, documents, records, and other information submitted by the claimant,” as

required under ERISA § 503(2), 29 U.S.C. § 1133(2), and its implementing regulation at 29 C.F.R.

§ 2560.503-1(h)(2)(iv). Indeed, it was extra-record discovery in Cloud that led to Plaintiffs’

discovery of the Board’s admitted, ERISA-violative “practice” that not all evidence is reviewed.
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Cloud, 2022 WL 2237451, at *12 (“Board members do not review all of the documents in the

administrative record.”) (citing deposition testimony and Board member’s trial testimony “that it

was not his practice to review all documents”) (emphasis in original); accord id. at *31.

        Here, Request No. 2 could reasonably lead to probative evidence necessary for the Court

to adequately assess Defendants’ pattern or practice of ERISA violations, as required by Booth

factor six. LOD, T & P, and NC decision letters contain Defendants’ representations of what

materials, documents, and records were allegedly reviewed. 25 Plaintiffs’ individual ARs, however,

must be supplemented concerning Defendants’ clandestine pattern or practice of failing to review

all records for other claimants who applied for similar benefits during the same time period.

Consequently, Request No. 2 is reasonably calculated to lead to admissible evidence that would

allow the Court to adequately assess whether Defendants’ have a pattern or practice of ERISA

violations by failing to review “all comments, documents, records, and other information.” Thus,

the documents sought through Request No. 2 are directly relevant to Booth factor six.

                      d.      Defendants’ Pattern or Practice of Failing to Ensure the
                              Independence and Impartiality of Plan-Selected Physicians

        Discovery of evidence absent from Plaintiffs’ ARs is also necessary for the Court to

adequately assess Defendants’ pattern or practice of failing to ensure that all claims and appeals

are adjudicated in a manner designed to ensure the independence and impartiality of Plan

compensated physicians. Pursuant to the mandate of ERISA § 503, 29 U.S.C. § 1133, “[i]n



   25
      See Ex. D (decision letters issued to four of the plaintiffs) (NFL_ALFORD-0000919
(“Disability Board reviewed all of the evidence in your Plan file”); NFL_ALFORD-0008983-84
(Committee “reviewed your application and the other materials in your file” and “considered all
of the medical records you submitted and referenced in support of your application”);
NFL_ALFORD-0004685 (“Disability Board reviewed the record”); NFL_ALFORD-0010258
(“After reviewing the medical evidence in your file”); NFL_ALFORD-0010283 (“Disability
Board carefully reviewed the medical evidence”); NFL_ALFORD-0010769 (“Committee
reviewed your application and the other materials in your file”)).
                                                24
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accordance with regulations of the Secretary,” Defendants

       must ensure that all claims and appeals for disability benefits are adjudicated in a
       manner designed to ensure the independence and impartiality of the persons
       involved in making the decision. Accordingly, decisions regarding hiring,
       compensation, termination, promotion, or other similar matters with respect to any
       individual (such as a … medical … expert) must not be made based upon the
       likelihood that the individual will support the denial of benefits.

29 C.F.R. § 2560.503-1(b)(7).

       Here, Plaintiffs’ ARs are silent on whether Defendants’ claims and appeals process

comports with this mandate. They contain information only as to their own claims. As recounted

above and in detail in the Amended Complaint, there is every reason to believe that Defendants’

claims process runs afoul of this legal mandate. Plaintiffs allege overwhelming evidence of

extensive bias by Plan physicians, including those promoted and provided extra compensation to

teach new Plan physicians. Accordingly, Plaintiffs’ request for “[a]ll notices of LOD, T & P, and

NC benefit determination decision letters communicated to all Claimants during the Relevant Time

Period” (supra at p. 1) could reasonably lead to probative evidence for the Court to adequately

assess Defendants’ pattern or practice of ERISA violations for failure to ensure “independence and

impartiality” of the Plan’s physicians in “all claims and appeals.” 29 C.F.R. § 2560.503-1(b)(7).

       Importantly, decision letters communicated to other claimants and Plan physician reports

for other benefits claimants could reasonably lead to probative evidence of Defendants’ pattern or

practice of making “decisions regarding hiring, compensation, termination, promotion, or other

similar matters with respect to any individual (such as a … medical … expert) ... based upon the

likelihood that the individual will support the denial of benefits.” Id. Discovery could reasonably

lead to probative evidence necessary for the Court to adequately assess Defendants’ pattern or

practice of depriving Plaintiffs of a full and fair review because Plaintiffs were examined by




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conflicted physicians selected and compensated handsomely by Defendants. 26

                       e.      Discovery Outside the ARs Is Necessary to Assess Defendants’
                               Pattern or Practice of Ignoring Governing Plan Documents

        Discovery of decision letters and Plan physician reports could reasonably lead to probative

evidence of Defendants’ failure to follow governing Plan documents. For example, they will shed

further light on whether Defendants have a pattern or practice of considering factors expressly

barred by the Plan’s terms, such as Plaintiffs’ “educational level and prior training.” 27

                       f.      Discovery Outside the ARs Is Necessary for the Court to Assess
                               Defendants’ Pattern or Practice of Failing to Afford De Novo
                               Review of Committee Decisions

        Additionally. discovery is appropriate to determine whether the Board has routinely


   26
       For example, Dr. McCasland, who has received over $1.8 million in compensation from
Defendants, examined Plaintiffs McKenzie, McGahee, and Alford. ¶ 301. A sample of decision
letters and physician reports outside the ARs showed that he found no claimant to be T & P
disabled. Id. Defendants’ contention that Plaintiffs fail to provide particular facts supporting bias
is meritless because Plaintiffs specifically allege that, across 51 T & P disability evaluations
performed by seven Plan physicians having an average annual compensation from Defendants of
$200,000 or more, those physicians have never found that any claimant is T & P disabled in any
year (¶¶ 117, 328, 337), and across 291 T & P disability evaluations performed by Plan physicians
having an average annual compensation from Defendants of $125,000 or more, those physicians
concluded that over 92% of claimants were not T & P disabled and 19 of them have never found
any claimant T & P disabled (¶¶ 118, 301, 338). Cf. Kasko, 33 F. Supp. 3d at 787 (“[Plaintiff] has
made a sufficient showing of potential bias to permit further discovery. More specifically, she has
offered proof that approximately 85% to 90% of the claims Dr. Mendelssohn has reviewed have
been recommended ‘not disabled.’”); Hertz v. v. Hartford Life & Acc. Ins. Co., 991 F. Supp. 2d
1121, 1136 (D. Nev. 2014) (“statistics strongly suggest[ed]” that plan-hired physician “harbored a
significant bias towards finding a claimant capable of performing some type of work” where
physician “found that 100% of all claimants could perform some type of work”); Caplan v. CNA
Fin. Corp., 544 F. Supp. 2d 984, 990, 992 (N.D. Cal. 2008) (where plan physician had evaluated
217 claimants and found 193 of them able to work, court found that physician “stood to benefit
financially from the repeat business that might come from providing Hartford with reports that
were to its liking” and that “the history of [his] conclusions provide[d] evidence of [a] conflict”).
   27
      Compare ECF No. 69-7 at 12 (Plan § 3.1(e)(i)) with e.g., Ex. E (NFL_ALFORD-0004685)
(in denying Plaintiff McKenzie’s appeal, Board relied on Plan physician’s opinion that he was not
T & P disabled based on his “education, and experiential background”) and Ex. F
(NFL_ALFORD-0011213) (in denying Plaintiff Smith’s appeal, Board relied on Plan physician’s
opinion that he could “engage in employment consistent with your training and experience”).
                                                 26
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afforded de facto deference to the same advisors involved in the Committee’s decisions instead of

conducting a genuinely de novo review of the Committee’s decisions, as required by both ERISA

and the Plan’s own terms. 28 In Cloud, following discovery and a bench trial, the court concluded

that claimants are not genuinely afforded de novo review on appeal to the Board and that this gives

rise to an inherent conflict of interest:

         [I]t has become clear that the Board misplaced its trust in advisors, including
         advisors at Groom. These advisors failed to review all documents, drafted Board
         decision letters reflecting purported reasons for denial that were never actually
         discussed among Board members, and advised both the Committee and the Board
         members charged with conducting a de novo review of Committee decision—
         despite the inherent conflict of interest presented by acting in such a dual capacity.

Cloud, 2022 WL 2237451, at *44. Thus, consistent with Booth factor six, the discovery that

Plaintiffs seek is reasonably calculated to yield information that would allow the Court to

adequately assess whether Plaintiffs’ claims were compromised by a pattern and practice of failing

to afford genuinely de novo review on appeal to the Board.

                        g.      Discovery Is Necessary for the Court to Assess Defendants’
                                Pattern and Practice of Failing to Provide Relevant Documents

         Request No. 2 is also appropriate to help the Court adequately assess Defendants’ pattern

or practice of failing to provide relevant information. For example, as alleged in the Amended

Complaint, Defendants failed to produce requested statistical information relevant to the

reputation, bias, and predisposition of Plan-compensated physicians who examined Plaintiff


    28
      See Cloud, 2021 WL 4477720, at *4 (“[I]nformation on the Board’s actions is important to
determine whether the Board rubber-stamped the Committee’s decision instead of conducting a de
novo review as is required by the Plan documents, and whether it … complied with ERISA
procedural regulations.”); see also 29 C.F.R. §§ 2560.503-1(h)(3)(ii), (h)(4) (disability plan must
“[p]rovide for a review that does not afford deference to the initial adverse benefit determination
and that is conducted by an appropriate named fiduciary of the plan who is neither the individual
who made the adverse benefit determination that is the subject of the appeal, nor the subordinate
of such individual”); ECF No. 69-7 at 68 (Plan § 13.14, stipulating that “[t]he Disability Board
will accord no deference to the determination of the Disability Initial Claims Committee”).

                                                   27
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McKenzie. ¶¶ 104, 303. In its decision on Mr. McKenzie’s claim, the Board rejected his request

for relevant information on the Plan physicians who had evaluated him, asserting that “statistics

on the outcome of a particular physician’s evaluations[] [we]re not relevant to [his] claim,” and

that it disagreed with a judge’s recent conclusion that a Plan physician was conflicted. Ex. E

(NFL_ALFORD-0004686). Elsewhere, Defendants represent in decision letters that they do not

even maintain statistics on Plan physicians (¶ 51), but such representations are false. Since at least

2013,




                                           Discovery on this point is therefore well justified. 29

                   6.   Booth Factor 3: Adequacy of the Materials Used to Support
                        Defendants’ Decisions, and the Degree to Which They Support Them

        Requests 2 & 3 are further necessary to fill in the gaps in the ARs to properly assess the

adequacy of the materials used to support Defendants’ decisions on Plaintiffs’ claims, as

prescribed by Booth factor three. In Helton, the Fourth Circuit reasoned that there are “many

circumstances in which a court would need to look to extrinsic evidence to evaluate the adequacy

of the administrative record, as is required by the third factor.” Helton, 709 F.3d at 354. 30


   29
      See Ferguson v. United of Omaha Life Ins. Co., 3 F. Supp. 3d 474, 480 n.6 (D. Md. 2014)
(“One would hope that [the fiduciary] was well aware of, and took into consideration, [the
physician’s] experience, areas of expertise, potential conflicts of interests, and criticisms of his
previous reviews when it assigned him the task of reviewing this case. … It would be troublesome,
indeed, if this information was not before the fiduciary and considered by the fiduciary.”).
   30
      See Glenn, 554 U.S. at 118 (“serious concern[]” that “MetLife had emphasized a certain
medical report that favored a denial of benefits, had deemphasized certain other reports that
suggested a contrary conclusion, and had failed to provide its independent vocational and medical
experts with all of the relevant evidence”); Helton, 709 F.3d at 358 (regarding Booth factor 3,
defendant “withheld from the administrative record highly relevant pieces of information
subsequently produced in discovery, including … e-mail and the screen shot”); Mickell, 832 F.

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        The Requests will yield information concerning whether the unfavorable determinations

on Plaintiffs’ claims were the product of a systematic practice of cherry-picking evidence—namely

by placing overriding, if not exclusive, reliance on incomplete, undetailed, or otherwise flawed

reports of Defendants’ hired physicians—and, thus, whether Defendants truly considered all

records and information as they represent in their decisions.

                   7.   Booth Factor 5: Other Similar Situated Claimants’ Decision Letters
                        and Physicians Reports Are Necessary to Fill in the Gaps in the ARs
                        to Assess Whether Defendants’ Decision-Making Process Was
                        Reasoned and Principled

        Finally, the documents sought by Requests 2 & 3 can also shed light on whether

Defendants’ decision-making process was reasoned and principled in Plaintiffs’ cases because the

discovery is reasonably calculated to lead to admissible evidence for the Court to adequately assess

the degree of Defendants’ “reliance on … apparently biased sources casts serious doubt on the

neutrality of its decision-making process,” as required by Booth factor five. 31

        Here, other claimants’ decision letters and physicians’ reports could reasonably lead to


App’x at 593 (minutes for Board’s meeting contained itemized list of materials that it reviewed in
deciding plaintiff’s claim but did not include evidence previously before the Committee, and
Board’s denial letter did not discuss any evidence that plaintiff had submitted to the Committee);
Cloud, 2022 WL 2237451, at *43 (“The Board’s review process, its interpretation and application
of the Plan language, and overall factual context all suggest an intent to deny Plaintiff’s … appeal
regardless of the evidence.”); Smith v. Reliance Standard Life Ins. Co., No. 5:17-CV-00056-BR,
2018 WL 4760490, at *5 (E.D.N.C. Oct. 2, 2018) (relevant to Booth factor 3, errors in physician’s
notes were pertinent evidence in determining adequacy of materials that insurer considered in
denying disability benefits claim), aff’d, 778 F. App’x 207 (4th Cir. 2019).
   31
       Caplan, 544 F. Supp. 2d at 992; see Solomon v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
860 F.3d 259, 261 (4th Cir. 2017) (Board “failed to follow a reasoned process or explain the basis
of its determination [in its decision letters]—neither addressing nor even acknowledging new and
uncontradicted evidence supporting Solomon’s application.”); Stewart v. Bert Bell/Pete Rozelle
NFL Player Ret. Plan, No. WDQ-09-2612, 2012 WL 2374661, at *14 (D. Md. June 19, 2012)
(“The Board failed to apply a reasoned and principled decision-making process as required by the
Plan” because it “simply accepted” two Plan physicians’ “flawed” and “undetailed” reports
“without adequate explanation,” and “a reasoning mind would not accept” those reports as
adequate to support a denial of benefits).
                                                 29
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probative evidence that Defendants’ decision-making process on Plaintiffs’ claims was not

reasoned and principled. They contain information that would allow an adequate assessment of

the extent and impact of Defendants’ routine reliance on physicians having a known history of

issuing flawed, deficient, conclusory, undetailed, or otherwise inadequate reports and reports

employing inconsistencies with Plan terms.

                                       CONCLUSION

       For the foregoing reasons, the Court should overrule Defendants’ objections and compel

Defendants to furnish all documents responsive to Requests 2 & 3.

Dated: November 26, 2024
                                             Respectfully submitted,

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